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                                    UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF VIRGINIA
                                             Richmond Division

         In re:
                                                                Case No.: 19-34574-KRH
                   LeClairRyan PLLC,
                                                                Chapter 7
                          Debtor


         Lynn L. Tavenner, as Chapter 7 Trustee,

                          Plaintiff,

         vs.
                                                                Adv. Pro. No.: _______________
         Esquire Deposition Services, LLC,

                          Defendant.


                                THE TRUSTEE’S COMPLAINT TO: (I) AVOID
                                AND RECOVER PREFERENTIAL TRANSFERS,
                           (II) DISALLOW CLAIMS, AND (III) RELATED RELIEF

                  COMES NOW Lynn L. Tavenner, not individually, but solely in her capacity as the duly

        appointed Chapter 7 trustee (the “Trustee” or herein “Plaintiff”) of the bankruptcy estate (the

        “Estate”) of LeClairRyan PLLC (“LeClairRyan” and/or the “Debtor”), in the above-referenced

        Chapter 7 case (the “Case”), for her complaint (the “Complaint”) against Esquire Deposition

        Services, LLC (the “Defendant”), and alleges as follows:



        ________________________________________
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        Brittany J. Nelson (VSB No. 81734)
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                                             NATURE OF ACTION

                 1.    The Trustee brings this action against Defendant to avoid and recover certain

        preferential transfers that occurred during the ninety (90) day period prior to the commencement

        the Case. Specifically, the Trustee seeks entry of a judgment against Defendant: (i) avoiding

        transfers pursuant to 11 U.S.C. § 547(b); (ii) directing Defendant to pay an amount to be

        determined at trial that is not less than the amount of avoidable transfers, plus interest and costs,

        pursuant to 11 U.S.C. § 550(a); and (iii) disallowing any claims filed by the Defendant against the

        Debtor’s Estate unless and until Defendant returns the avoidable transfers to the Trustee pursuant

        to 11 U.S.C. § 502(d).

                                                 THE PARTIES

                 2.    The Trustee is the duly-appointed Chapter 7 trustee of the Estate. Prior to the

        Petition Date (defined below), the Debtor operated as a law firm. The Debtor operated its

        businesses from several states including Virginia.

                 3.    On information and belief, the Defendant provided goods and/or services to the

        Debtor at varying times prior to September 3, 2019 (the “Petition Date”).

                                         JURISDICTION AND VENUE

                 4.    This Court has jurisdiction to consider this matter under 28 U.S.C. §§ 157 and 1334.

                 5.    This is a core proceeding under 28 U.S.C. § 157(b)(2)(B) and (F).

                 6.    Venue of these Chapter 11 cases and this adversary proceeding in this District and

        before this Court is proper under 28 U.S.C. §§ 1408 and 1409.

                 7.    The statutory and legal predicates for the relief requested by the Complaint are 11

        U.S.C. §§ 105, 502(d), 541, 542, 547, 550 and 558, Bankruptcy Rules 3007 and 7001, and Local

        Bankruptcy Rule 3007-1.

                 8.    Plaintiff consents to entry of a final order by the Court in this adversary proceeding.

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                                                 RELEVANT FACTS

        A.       Case Background

                 9.    On the Petition Date, the Debtor filed for relief under Chapter 11 of the Bankruptcy

        Code. Pursuant to §§ 1007 and 1108 of the Bankruptcy Code, the Debtor operated as a debtor-in-

        possession.

                 10.   On September 12, 2019, the United States Trustee filed its Motion to Convert Case

        to Chapter 7 (the “Motion to Convert”) and notice thereof, ECF No. 61. At a hearing on

        September 26, 2019, the Court denied the Motion to Convert. However, per agreement between

        the Debtor, the United States Trustee, and ABL Alliance, LLLP (the “Lender”), the Debtor’s

        bankruptcy case was converted to a case under Chapter 7 of the Bankruptcy Code on October 4,

        2019 (the “Conversion Date”).

                 11.   Upon conversion, Lynn L. Tavenner was appointed interim trustee, and she

        continues to serve in that capacity.

        B.       Adversary Proceeds Administration

                 12.   On February 11, 2020, the Trustee filed the Trustee’s Motion for an Order

        Establishing Procedures Regarding the Prosecution of Avoidance Actions Involving Persons Other

        than Former Attorneys and Certain Others and Memorandum in Support Thereof (the “NFA

        Motion”). ECF No. 345. Through the NFA Motion, the Trustee sought to establish procedures

        (the “NFA Adversary Proceeding Procedures”) governing avoidance actions to recover certain

        transfers avoidable under the Bankruptcy Code and other applicable law.

                 13.   On February 27, 2020, the Court entered an order (the “NFA Order”) granting the

        NFA Motion. ECF No. 385.

                 14.   Pursuant to the NFA Order, the Trustee is authorized to initiate adversary

        proceedings pursuant to the NFA Adversary Proceeding Procedures, which include specific rules

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        governing litigation, mediation, and settlement. A reference to the NFA Adversary Proceeding

        Procedures should be made in responding to this Complaint.

        C.       Business Relationship Between the Debtor and Defendant

                 15.   Prior to the Petition Date, the Debtor was a large multi-state law firm providing

        legal services to clients. In conducting its business operations, the Debtor regularly purchased,

        received, and/or provided goods and services.

                 16.   During the ninety (90) days before the Petition Date, (the “Preference Period”),

        the Debtor continued to engage in business and regularly made payments and other transfer of

        property to vendors and other parties, including the Defendant.

                 17.   Prior to the Petition Date, the Debtor and the Defendant engaged in one or more

        business transactions evidence by contracts, invoices, communications and/or other documents

        (collectively, the “Agreements”).

                 18.   In bringing this Complaint, Plaintiff has conducted an analysis of certain business

        records and information of the Debtor. During the course of this proceeding, Plaintiff may learn

        (through discovery or otherwise) of additional transfers made to Defendant during the Preference

        Period or that are otherwise avoidable. It is Plaintiff’s intention to avoid and recover all transfers

        made by the Debtor of an interest of the Debtor in property to or for the benefit of the Defendant.

                 19.   To the extent that the Debtor’s records do not accurately identify all transfers made

        by the Debtor of an interest in the Debtor’s property, including but not limited to any transfers that

        cleared or otherwise were made post-petition, Plaintiff reserves the right to amend this Complaint

        to include: (i) further information regarding the Preferential Transfers (defined below), (ii)

        additional transfers, (iii) modifications of and/or revision of the Defendant’s name or identity, (iv)

        additional defendants, and/or (v) additional causes of action (collectively, the “Amendments”),



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        that may become known to Plaintiff at any time during the pendency of this adversary proceeding,

        through formal discovery or otherwise, and for the Amendments to relate back to this Complaint.

        D.       Transfers to Defendant Made Within 90 Days Prior To The Petition Date

                 20.    During the Preference Period, the Debtor transferred property to or for the benefit

        of Defendant in an amount not less than $18,849.18. A list identifying each and every transfer

        during the Preference Period is attached hereto as Exhibit A and is incorporated herein by

        reference (collectively, the “Preferential Transfers” and each a “Preferential Transfer”).

                 21.    On or about March 12, 2020, counsel for the Trustee demanded that Defendant

        remit the total amount of the Preferential Transfers to the Trustee. Defendant did not remit such

        amounts or provide a satisfactory explanation as why the amounts are not avoidable under the

        Bankruptcy Code.

                 22.    Some, but not all, of the Preferential Transfers might be subject to defenses under

        Section 547(c) of the Bankruptcy Code, for which Defendant bears the burden of proof under

        Section 547(g) of the Bankruptcy Code.

                                            COUNT I.
                                   AVOIDANCE OF PREFERENTIAL
                               TRANSFERS PURSUANT TO 11 U.S.C. § 547(B)

                 23.    The Trustee repeats and realleges each of the allegations set forth above as if fully

        set forth herein.

                 24.    The Trustee has undertaken reasonable due diligence given the circumstances of

        this case and taken into account the Defendant’s known or reasonably knowable affirmative

        defenses.

                 25.    During the Preference Period, Defendant was a creditor of the Debtor.




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                 26.    During the Preference Period, the Debtor made one or more Preferential Transfers

        to or for the benefit of the Defendant, including those set forth on the chart annexed hereto as

        Exhibit A, which is incorporated herein by reference.

                 27.    Each Preferential Transfer was a transfer of an interest in the Debtor’s property.

                 28.    Each Preferential Transfer was made for or on account of an antecedent debt or

        debts owed by Defendant before such Preferential Transfers was made.

                 29.    Each Preferential Transfer was made during the Preference Period.

                 30.    The Debtor was insolvent when each Preferential Transfer was made. The Plaintiff

        is entitled to the presumption of insolvency for each Preferential Transfer pursuant to 11 U.S.C. §

        547(f). Further, as evidenced by the Debtor’s Schedules as well as the proofs of claim filed against

        the Debtor, the Debtor’s liabilities exceed its assets. It is anticipated that creditors will receive less

        than full value on account of their allowed claims against the Debtor.

                 31.    Each Preferential Transfer enabled Defendant to receive more than Defendant

        would have received if (i) the Preferential Transfers and/or payments had not been made; and (ii)

        Defendant received payment on account of the debt paid by the Preferential Transfers to the extent

        provided by the Bankruptcy Code.

                 32.    Each Preferential Transfer constitutes an avoidable preference pursuant to Section

        547(b) of the Bankruptcy Code.

                 33.    Despite due demand, the Defendant has failed and refused to remit the amount of

        the Preferential Transfers to the Plaintiff.

                 34.    Plaintiff is entitled to an order and judgment under 11 U.S.C. § 547 that each of the

        Preferential Transfers is avoided.




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                                            COUNT II.
                               RECOVERY OF PREFERENTIAL TRANSFERS
                                    PURSUANT TO 11 U.S.C. § 550

                 35.    The Trustee repeats and realleges each of the allegations set forth above as if fully

        set forth herein.

                 36.    Defendant was either (i) the initial transferee of the Preferential Transfers, (ii) the

        entity for whose benefit the Preferential Transfers were made, or (iii) an immediate or mediate

        transferee of the Preferential Transfers.

                 37.    Each Preferential Transfer that is avoided under Section 547(b) of the Bankruptcy

        Code is recoverable pursuant to Section 550 of the Bankruptcy Code.

                 38.    Subject to potential defenses, the Trustee is entitled to recover the value of the

        Preferential Transfers pursuant to Section 550(a) of the Bankruptcy Code.

                 39.    Plaintiff is entitled to an order and judgment under 11 U.S.C. § 550 that the

        proceeds or value of each of the Preferential Transfers is recovered for the benefit of the Estate.

                                             PRAYER FOR RELIEF

                 WHEREFORE, the Trustee respectfully requests and prays that the Court:

                 i.     Pursuant to Counts I and II, enter judgment against Defendant pursuant to 11 U.S.C.

        §§ 547 and 550 and allow the Trustee on behalf of the Estate to avoid and recover the Preferential

        Transfers in an amount of not less than $18,849.18;

                 ii.    Award the Trustee prejudgment interest at the legally allowed applicable rate;

                 iii.   Award the Trustee costs and expenses of suit herein; and

                 iv.    Grant the Trustee such other and further relief as the Court deems just and

        appropriate.

                                            [Signature Page to Follow]



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        Dated: May 22, 2020                   Respectfully submitted,

                                              /s/ Brittany J. Nelson
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                                      EXHIBIT A
        STATEMENT OF TRANSFERS DURING THE PREFERENCE PERIOD

                            Esquire Deposition Services, LLC


Vendor Name                        Check Date   Description               Amount
Esquire Deposition Services, LLC   6/25/2019    Deposition services        $10,301.25
Esquire Deposition Services, LLC   7/29/2019    Court reporting             $3,300.85
Esquire Deposition Services, LLC   7/29/2019    Deposition charges          $5,247.08
                                                                           $18,849.18




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